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UNTIED STATES DISTRICT COURT NORTHERN DISTRICT OF ILLINOIS

Tyrion   Hodges.                             Judge: John F Kness
           V.
                    ET.al
Thomas dart                                       Case No. 20 c 6643
                                                                         FILEfD
                                                                                    15    2022
                                                                         ,.Nbvt DEC
                      NOTICE OF ADDRESS CHANGE                                THOMAS G BRUTON
                                                                           CLERK, U.S. DISTRICT COURT




I   Tyrion Hodges, Represented currently by myself Hear-by notify the clerk Thomas

Burton Of My address Update.

From 7939       S   washtenaw Ave, To New Address Of LO247 S Van vlissingen Rd. Chicago lL

605L7.

As of December 8th 2022 and under the penalties of perjury I declare the foregoing True


and correct.




Tvrion Hodpes
1,0247 S Van vlissineen Rd.
Chicaeo lL 60617
Propria persona
L2-O8-2022
